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TRUNG VANLE, GREIG, -
LOWE, and JOHNSON. - - / : a

ase 2:18-cv-00522-JLB-MRM Document 99 Filed 09/14/20 Page 1 of 3 PagelD 327
SERF {164820

UNITED STATES OLSTRICT CouRT
MIDOLE DISTRICT OFF ORTOA.  2020SEP 14 PMI2: 51 _
FORTMEYERS DIVISION (GLERUS DISTRICT couRT

—_ MILLTAM WESTERVELT

. Plaiveh if, . . _
Case. Nos di (8-cv-52-FEM-33M QM

a Ddeudaits, — _ —

NOTICE OF VOLUNTARY DISCLOSURE
OF MEDTCAL RECORDS

COMESNOW Plainttl Willian Westeruell arose, and respectfully notifies
_|the Couct that as of the. ‘lode of cert he, ty hereity P, ‘till

thas. couided Counse| fon the Defendants aco py of 4 he medical

the Paintitl

cation hevein

—_ lrecords. that were previously unavailable based on the Defen—

3)

4)

dawts pi [fering the medical fle and attempts at spaliation: _

The medi cal records in issue. specifical ly de monstrate. the pefendaat

were well aware.of Plaintiffs haat and Shattered lef+ hand _

and they deliberately took no_action to treat Plaintiff
Recently why le disqussing {he matter of the pilfered medical records

lwith his sictec, Vic: Ori bith, she informed hin Heat she. ha pul
—lehased the medical records regarding this issue_in ZOU.

Because Mes Smith moved in 2016, she was unsure.as to the f; les
whereabouts. Later, after an extensive search the fi les weve loca-

ted
Mrs Simith advised and has provided a Sworn declaration that the

 
Case 2:18-cv-00522-JLB-MRM Document 99 Filed 09/14/20 Page 2 of 3 PagelD 328

; | records sat Ai hes altered, sm: Ww the origanal gorditen from

— when pure ased and wer ved Ia Sec ed file cakine (Vv
her cs ee They consi oh twenty Wo Gas pages. |

These: - fecords have. b CESS. priv to, 0p posi COU nsel ot

“he address indicated in ‘the ee Fh in hein a theft ain-
iff cost. Which will be recovered et preuasling party. d OCTCINe..

oe Sepkmber_ 6 - oe jt
Date. mm 010 cespertt ubMi 4

 

 
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SEP 11 2020

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I placed a true and correct copy of the Request

For Court Order in the hands of an institutional official of Moore Haven

Correctional Facility for mailing via U.S. Postal Mail, postage prepaid to:

*UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
Office of the Clerk

Room 2-194 United States Courthouse
and Federal Building

2110 First Street

Fort Meyers, FL 33901

on this 6 of 2020.

*Chimpoulis & Hunter Attorneys
150 South Pine Island Road

Suite 510

Plantation, FL 33324

Respectfully Submitted,

Kot e =

 
   

DC # 138254

Moore Haven Correctional Facility
P.O. Box 719001

Moore Haven, Florida 33471.

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